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              Exhibit A
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   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK


   In re:
                                                       Chapter 11
   VOYAGER DIGITAL HOLDINGS, INC. et al.,
                                                       Case No. 22-10943 (MEW)
                                                       (Jointly Administered)
                          Debtors.


   VOYAGER DIGITAL HOLDINGS, INC. et al.,

                          Plaintiffs,                  Adversary Proceeding No. 22-01138

            v.

   PIERCE ROBERTSON et al.,

                          Defendants.


                 STIPULATION AND AGREED ORDER RESOLVING ADVERSARY
                               PROCEEDING NO: 22-01138

            This Stipulation and Agreed Order Resolving Debtors’ Adversary Complaint to Extend the

   Automatic Stay or, in the Alternative, for Injunctive Relief Enjoining Prosecution of Certain

   Pending Litigation (“Stipulation and Order”) is being entered into between (i) Pierce Robertson,

   Rachel Gold, Sanford Gold, Rahil Sayed, Christopher Ehrentraut, Todd Manganiello, Dan

   Newsom, William Ayer, Anthony Dorn, Dameco Gates, Marshall Peters, and Edwin Garrison

   (together, the “Customers”), (ii) the above captioned Debtors (the “Debtors”), and (iii) Stephen
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   Ehrlich (“Mr. Ehrlich”). The Customers, the Debtors, and Mr. Ehrlich are each a “Party” and

   collectively, the “Parties.”

                                             RECITALS

           WHEREAS, on July 5, 2022 (the “Petition Date”), each Debtor commenced a voluntary

   case (the “Bankruptcy”) under chapter 11 of title 11 of the United States Code (as amended, the

   “Bankruptcy Code”) in the United States Bankruptcy Court for the Southern District of New York

   (the “Bankruptcy Court” or “Court”);

           WHEREAS, on August 10, 2022, the Customers filed a complaint (the “Robertson

   Complaint”) in the United States District Court for the Southern District of Florida, captioned

   Robertson, et al. v. Cuban, et al., No. 1:22-cv-22538-RKA (S.D. Fla.), naming Mark Cuban

   (“Cuban”) and Dallas Basketball Limited d/b/a the Dallas Mavericks (together with Cuban, the

   “Cuban Parties”), along with Stephen Ehrlich, the co-founder and Chief Executive Officer of the

   Debtors, as a defendant (the “Robertson Action”);

           WHEREAS, on August 22, 2022, the Debtors commenced this adversary proceeding (Dkt.

   1) (the “Adversary Proceeding”), seeking to (i) extend the protections of 11 U.S.C. § 362 to the

   Robertson Action, or in the alternative, (ii) enjoin pursuant to 11 U.S.C. § 105(a), further

   proceedings in the matter pending in the Robertson Action. On the same date, the Debtors filed a

   Motion to Extend the Automatic Stay or, in the Alternative, for Injunctive Relief Enjoining

   Prosecution of Certain Pending Litigation (Dkt. 2) (the “Stay Motion”).

           WHEREAS, on October 3, 2022, the Customers filed an objection to the Stay Motion (Dkt.

   18) (the “Objection”) and, in connection with the Objection, on October 7, 2022, they filed as

   Exhibit A to the Objection, a proposed amended version of the complaint in the Robertson Action

   (the “Proposed Amended Complaint”), also naming Stephen Ehrlich as a defendant; and


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          WHEREAS, the Stay Motion is scheduled to be heard by the Bankruptcy Court on October

   19, 2022.

                              STIPULATION AND AGREED ORDER

          In an effort to avoid unnecessary litigation regarding the Adversary Proceeding, the

   Robertson Action, and related motions, the Debtors, the Customers, Mr. Ehrlich, and the

   Customers’ counsel jointly stipulate, and the Court adopts such joint stipulation and ORDERS as

   follows:

   1.     Dismissal of Stephen Ehrlich as a Defendant in the Robertson Action: The Parties

   agree that, on or before October 21, 2022, the Customers, through their counsel, shall take any and

   all steps that are required to dismiss, with prejudice, Mr. Ehrlich as a defendant in the Robertson

   Action (the “Required Dismissal Steps”), the Parties to bear their own costs and attorneys’ fees.

   Counsel for the Customers also covenant that neither they nor others associated with Counsel will

   seek to file claims that arise from or relate in any way to the allegations in the Robertson Complaint

   or Proposed Amended Complaint (as filed in the above-captioned case, Docket No. 23) against

   any other officers, directors, or employees of the Debtors, on behalf of any current or former

   Voyager customers or shareholders.

   2.     Reservation of Rights. As described in the Debtors’ Plan of Reorganization (the “Plan”),

   Mr. Ehrlich provided the Special Committee of the Board of Directors and the Official Committee

   of Unsecured Creditors with a financial disclosure as part of the Bankruptcy. In connection with

   this Stipulation and Order, Mr. Ehrlich also provided counsel to the Customers with a financial

   disclosures, bates stamped VOY-INV-00046163 - 46165 (the “Ehrlich Financial Disclosure”). If

   and only if, as described in the Plan, any court of competent jurisdiction enters a final and non-

   appealable judgment determining that the Ehrlich Financial Disclosure is materially inaccurate,


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   the Parties agree that nothing in this Stipulation and Order shall prohibit the Customers from

   seeking to reinstate the claims against Mr. Ehrlich and seeking to add him as a defendant to the

   Robertson Action. In such case, Mr. Ehrlich agrees not to oppose a request by the Customers that

   any applicable statutes of limitations or repose as to claims against Mr. Ehrlich shall relate back to

   the August 10, 2022 filing date of the initial complaint in the Robertson Action.

   3.     Continuance of the Robertson Action Without Ehrlich. The Debtors and Mr. Ehrlich

   agree that, upon dismissal of Mr. Ehrlich as a defendant in the Robertson Action, neither the

   Debtors nor Mr. Ehrlich will (1) take the position that prosecution of the Robertson Action violates

   the automatic stay, (2) seek to extend the automatic stay to the Robertson Action, or (3) otherwise

   seek to intervene in the Robertson Action, including, but not limited to, oppose any request by The

   Moskowitz Law Firm, PLLC and Boies Schiller Flexner LLP to be appointed as Interim Co-Lead

   Class Counsel in the Robertson Action under Federal Rule of Civil Procedure 23(g)(1)(A) . For

   the avoidance of doubt, the Required Dismissal Steps do not violate the automatic stay.

   4.     Dismissal of this Action: Based on the covenant in Paragraph 1, the Debtors agree that,

   upon the dismissal of Mr. Ehrlich as a defendant in the Robertson Action with prejudice, this

   Adversary Proceeding is voluntarily dismissed, with prejudice, with the parties to bear their own

   costs and attorneys’ fees.

   5.     Retention of Jurisdiction: This Court shall retain exclusive jurisdiction to interpret and

   enforce the provisions of this Stipulation and Order. For the avoidance of doubt, nothing contained

   in this Stipulation and Order expands or otherwise restricts the Court’s jurisdiction with respect to

   this matter or any other matter.




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         AGREED TO BY:

    Dated: October 19, 2022              PACHULSKI STANG ZIEHL & JONES LLP


                                         /s/ Jason Rosell
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                                         Alan J. Kornfeld
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                                         Dan Newsom, William Ayer, Anthony Dorn,
                                         Dameco Gates, Marshall Peters, and Edwin
                                         Garrison



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    Counsel to Stephen Ehrlich


   SO ORDERED:


   New York, New York
   Date: October 19, 2022                      s/Michael E. Wiles
                                               THE HONORABLE MICHAEL E. WILES
                                               UNITED STATES BANKRUPTCY JUDGE




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